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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                           No. 16-966V
                                    Filed: December 7, 2016
                                         UNPUBLISHED

****************************
TAMARA FRYE,                             *
                                         *
                     Petitioner,         *      Ruling on Entitlement; Concession;
v.                                       *      Influenza (“Flu”); Shoulder Injury
                                         *      Related to Vaccine Administration
SECRETARY OF HEALTH                      *      (“SIRVA”);
AND HUMAN SERVICES,                      *      Special Processing Unit (“SPU”)
                                         *
                     Respondent.         *
                                         *
****************************
Franklin Caldwell, Maglio, Christopher & Toale, FL, for petitioner.
Camille Collett, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT1

Dorsey, Chief Special Master:

       On August 9, 2016, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the “Vaccine
Act”). Petitioner alleges that she received an influenza (“flu”) vaccine in her left arm on
November 25, 2015 and thereafter suffered a shoulder injury related to vaccine
administration (“SIRVA”). Petition at 1. The case was assigned to the Special
Processing Unit of the Office of Special Masters.

       On December 6, 2016, respondent filed her Rule 4(c) report in which she
concedes that petitioner is entitled to compensation in this case. Respondent’s Rule
4(c) Report at 1. Specifically, respondent concluded that petitioner’s injury is consistent
with a SIRVA. Id. at 2. Respondent further agrees that petitioner has satisfied all legal
prerequisites for compensation under the Vaccine Act. Id.


1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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     In view of respondent’s concession and the evidence before me, the
undersigned finds that petitioner is entitled to compensation.

IT IS SO ORDERED.

                              s/Nora Beth Dorsey
                              Nora Beth Dorsey
                              Chief Special Master




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